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             IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF TEXAS
                      SHERMAN DIVISION

DAVID WAYNE ROBISON,                     §
                                         §
      Plaintiff,                         §
                                         §
vs.                                      §   Civil Action No. ______________
                                         §
ROCK HAULERS, LLC and                    §
STEVEN CURTIS SIVARD,                    §
                                         §
      Defendants.                        §


                   PLAINTIFF’S ORIGINAL COMPLAINT
                          AND JURY DEMAND


      Plaintiff David Wayne Robison files this Original Complaint against

Defendants Rock Haulers, LLC (“Rock Haulers”) and Steven Curtis Sivard

(“Sivard”), and would respectfully show as follows:

                                 I.
                        NATURE OF THE ACTION

      1.    Plaintiff brings this action for damages related to personal injuries

he sustained when his vehicle was struck by Defendants’ tractor trailer on or

about July 17, 2020, in Lamar County, Texas.

                                 II.
                       JURISDICTION AND VENUE

      2.    This Court has diversity jurisdiction over this action pursuant to

28 U.S.C. §§ 1332(a)(1) because the amount in controversy exceeds $75,000 and


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there is complete diversity of citizenship among the parties. Plaintiff is a

citizen of Texas. Defendants are citizens of Oklahoma.

      3.     Venue is proper in the Eastern District of Texas pursuant to 28

U.S.C. § 1391(b), because a substantial part of the events or omissions giving

rise to the claims herein occurred within the Eastern District of Texas.

                                    III.
                                THE PARTIES

      4.     Plaintiff David Wayne Robison is a natural person domiciled in

Texas and residing in Lamar, County, Texas. The last three numbers of

Plaintiff’s social security identification are 374 and the last three numbers of

his driver’s license are 173.

      5.     Defendant Rock Haulers, LLC is a foreign corporation doing

business in the State of Texas. Rock Haulers is registered with and authorized

by the Federal Motor Carrier Safety Administration (“FMCSA”) as an

interstate motor carrier and may be served through its FMCSA registered

agent, Rock Haulers, LLC, 2596 East 2140 Road, Grant, Oklahoma 74738, or

wherever said Defendant may be found. The issuance of a summons is

requested.

      6.     Defendant Steven Curtis Sivard (“Defendant Sivard”) is a natural

person domiciled in Oklahoma and residing in Choctaw County, Oklahoma. He

may be served with process at his residence located at 1014 South Main Street,



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Fort Towson, Oklahoma, 74735, or wherever he may be found. The issuance of

a summons is requested.

                                   IV.
                          FACTUAL BACKGROUND

      7.     On or about July 17, 2020, Plaintiff David Wayne Robison was

traveling westbound on NE Loop 286 in Lamar County, Texas.

      8.     At the same time, Defendant Sivard was driving Defendant Rock

Hauler’s tractor trailer, also traveling westbound on NE Loop 286. Defendant

Sivard suddenly veered into Plaintiff’s lane of travel, causing the tractor trailer

to collide with Plaintiff’s vehicle (the “Collision”).

      9.     Defendant Sivard failed to observe traffic conditions, failed to yield

the right of way, failed to maintain a proper lookout for other vehicles, and

failed to change lanes when safe to do so, and thereby caused the Collision.

      10.    As a direct and proximate result of the Collision, Plaintiff suffered

severe injuries and damages.

      11.    At the time of the Collision, the tractor trailer was being operated

in interstate commerce under the authority of Defendant Rock Haulers, an

authorized interstate motor carrier that is registered with the Federal Motor

Carrier Safety Administration under USDOT #2324486.

      12.    Defendant Rock Haulers retained the right and responsibility to

control supervision, operation, and maintenance of the tractor trailer.



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      13.    On information and belief, at the time of the Collision, Defendant

Sivard was driving the tractor trailer in the course and scope of an

employment, servant, or agency relationship between and amongst himself,

and Defendant Rock Haulers, or otherwise in furtherance of the business

interests of Defendant Rock Haulers.

                                    V.
                             CAUSES OF ACTION

      A.     Vicarious Liability

      14.    Plaintiff incorporates by reference the preceding paragraphs, as if

set forth fully herein.

      15.    At the time of the Collision, Defendant Sivard was the agent,

servant, representative, and/or employee of Defendant Rock Haulers, and was

acting within the course and scope of that relationship.

      16.    Therefore, Defendant Sivard and Defendant Rock Haulers are

jointly and severally liable for Plaintiff’s damages under the statutory employee

doctrine, Respondeat Superior, and/or related agency principles.

      B.     Negligence - Defendant Steven Curtis Sivard
      17.    Plaintiff incorporates by reference the preceding paragraphs as if set

forth fully herein.

      18.    At the time of the Collision, Defendant Sivard had a duty to exercise

the ordinary care of a reasonably prudent operator of a vehicle under the same

or similar circumstances.


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      19.        Defendant Sivard breached that duty of care by:

            a.     Failing to keep a proper lookout;

            b.     Failing to maintain proper control of the tractor trailer;

            c.     Failing to use ordinary care to control his speed, as a reasonably
                   prudent driver would, under the same or similar circumstances;

            d.     Failing to maintain a safe following distance from Plaintiff’s
                   vehicle, as a person exercising reasonably prudent care would
                   have;

            e.     Failing to apply his brakes in a timely and prudent manner, or,
                   in the alternative, wholly failing to apply his brakes in order to
                   avoid colliding with other vehicles;

            f.     Being inattentive and/or allowing himself to be distracted;

            g.     Failing to anticipate foreseeable hazards as a reasonably
                   prudent driver would under the same or similar circumstances;

            h.     Failing to generally act as an ordinary prudent driver under the
                   same or similar circumstances;

            i.     Failing to obey applicable traffic laws of Texas, including Tex.
                   Transp. Code §§ 545.401 and 545.060; and

            j.     Failing to comply with the applicable standards set forth in the
                   Federal Motor Carrier Safety Regulations, including 49 CFR
                   §392.1, et seq.

      20.        Defendant Sivard’s conduct in violation of Texas Transportation

Code § 545.060 and applicable operating rules per 49 CFR § 392.2 constitutes

negligence per se.

      21.        Each of Defendant Sivard’s breaches was a proximate cause of

Plaintiff’s injuries and damages.




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      C.     Negligence - Defendant Rock Haulers

      22.    Plaintiff incorporates by reference the preceding paragraphs as if set

forth fully herein.

      23.    At the time of the Collision, Defendant Rock Haulers had a duty to

exercise the ordinary care of a reasonably and prudent motor carrier regarding

the employment of Defendant Sivard and in the operation of the tractor trailer.

      24.    Defendant Rock Haulers breached that duty of care by:

      a.     Hiring Defendant Sivard;

      b.     Failing to properly investigate Defendant Sivard’s driving ability,
             prior employment history, and driving record;

      c.     Failing to properly train Defendant Sivard to drive in a safe and
             prudent manner;

      d.     Failing to properly supervise Defendant Sivard to ensure that he
             would operate the tractor trailer in a safe and prudent manner;

      e.     Failing to make a prudent inquiry into the driving competency of
             Defendant Sivard;

      f.     Recklessly employing Defendant Sivard;

      g.     Failing to implement reasonable safety policies and procedures;

      h.     Failing to enforce safety policies and procedures;

      i.     Failing to meet the applicable standards set forth in the Federal
             Motor Carrier Safety Regulations, including 49 CFR § 390.11, et seq
             and § 385.1, et seq.

      25.    Additionally, the violations of local, state, and federal traffic laws

stated above constitute negligence per se.




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      26.    Each of Defendant Rock Haulers’ breaches was a proximate cause of

Plaintiff’s injuries and damages.

      D.     Negligent Entrustment - Defendant Rock Haulers

      27.    Plaintiff incorporates by reference the preceding paragraphs as if

set forth fully herein.

      28.    At the time of the Collision, Defendant Rock Haulers owned the

tractor trailer that Defendant Sivard was driving. Defendant Rock Haulers

retained the right to control the tractor trailer, including to whom the tractor

trailer was entrusted, and entrusted its tractor trailer to Defendant Sivard.

      29.    Defendant Rock Haulers was negligent in entrusting the tractor

trailer to Defendant Sivard because he was an unlicensed, incompetent, and/or

reckless driver, and Defendant Rock Haulers knew, or through the exercise of

ordinary care should have known, that Defendant Sivard was an unlicensed,

incompetent, and/or reckless driver.

      30.    Defendant Rock Haulers was therefore negligent in entrusting the

tractor trailer to Defendant Sivard, and such negligent acts and omissions on the

part of Defendant Rock Haulers were done with conscious indifference to the

rights and safety of others, including Plaintiff, which was a direct and proximate

cause of the Collision and a proximate and producing cause of Plaintiff’s injuries

and damages.




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      E.     Common Carrier

      31.    Plaintiff incorporates by reference the preceding paragraphs as if

set forth fully herein.

      32.    Defendant Sivard was working for Defendant Rock Haulers at the

time of the Collision. Both Defendants were in the business of carrying cargo

and held themselves out for hire by the public. Accordingly, Defendants are a

common carrier, collectively and individually, and had a duty to exercise the

high degree of care of a reasonably prudent operator of a vehicle under the

same or similar conditions.

      33.    Defendants breached their duty to care to the public, and more

specifically, to Plaintiff.

      34.    Each and all of the above and foregoing acts, both of omission and

commission, were negligence and constituted negligence and were each and all,

independently and/or concurrently, the sole proximate cause of Plaintiff’s

injuries and damages.

      35.    As a common carrier, Defendant Rock Haulers owed Plaintiff a

legal duty to entrust its vehicles to competent and trustworthy drivers.

Defendant Rock Haulers owed a heightened duty of care in hiring, supervising,

and training employees. Defendant Rock Haulers breached the duty by

negligently entrusting a commercial motor vehicle to Defendant Sivard

without properly training or supervising him and by negligently retaining him


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after they knew or should have known he was not a safe, and/or trustworthy

driver. Likewise, Defendant Sivard owed Plaintiff a heightened duty as a

common carrier. Defendants, jointly and severally, breached their duty to

Plaintiff. Defendants’ breaches proximately caused the Collision and Plaintiff’s

severe injuries and damages.

      F.     Gross Negligence

      36.    Plaintiff incorporates by reference the preceding paragraphs as if set

forth fully herein.

      37.    Defendants’ acts and omissions described above, when viewed

objectively from the standpoint of Defendants at the time of the Collision

involved an extreme degree of risk, considering the probability and magnitude of

the potential harm to others, including Plaintiff.

      38.    Defendants had actual, subjective awareness of the risk involved,

but nevertheless proceeded with conscious indifference to the rights, safety,

and/or welfare of others, including Plaintiff.

      39.    Defendants’ acts and/or omissions described above proximately

caused Plaintiff’s injuries and damages.

                                     VI.
                                   DAMAGES

      A.     Plaintiff’s Personal Injury Damages

      40.    Plaintiff incorporates by reference the preceding paragraphs as if

set forth fully herein.

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      41.   As a proximate result of Defendants’ negligent acts and omissions,

Plaintiff has suffered damages, which include but are not limited to: past and

future pain and suffering; past and future mental anguish; past and future

medical, pharmaceutical, care, therapy, and treatment expenses; past and

future lost earning capacity; past and future physical impairment; past and

future disfigurement; and past and future loss of enjoyment of life.

      B.    Exemplary Damages

      42.   Plaintiff incorporates by reference the preceding paragraphs as if

set forth fully herein.

      43.   Defendants’ acts and omissions, as described above in constitute

gross negligence, which allows Plaintiff to recover exemplary damages under

Texas Civil Practice & Remedies Code § 41.003(a).

      C.    Pre-Judgment and Post-Judgment Interest

      44.   Plaintiff is entitled to recover pre-judgment and post-judgment

interest at the legal rate as provided by law.

                                    VII.
                               JURY DEMAND

      45.   Plaintiff respectfully requests that the trial of this cause be by jury,

and Plaintiff will tender the requisite fee.




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                                VIII.
                          PRAYER FOR RELIEF

      46.   WHEREFORE, Plaintiff prays that he be awarded judgment

against Defendants, including, but not limited to, the following:

      a.    Actual, compensatory, consequential, and special damages;

      b.    Past and future medical expenses;

      c.    Past and future pain and suffering;

      d.    Past and future mental anguish;

      e.    Past and future disfigurement;

      f.    Past and future physical impairment;

      g.    Past lost wages;

      h.    Future lost earning capacity;

      i.    All other economic damages allowed by law;

      j.    Punitive damages;

      k.    Pre-judgment and post-judgment interest at the maximum legal
            rate;

      l.    Costs of Court; and

      m.    Such other and further relief to which Plaintiff may be entitled
            under equity and in law.



Dated March 8, 2022




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                                  Respectfully submitted,

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